                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

IN RE:

       Marcus G. Lang                  ) Case No.: 14-83412-JAC-13
            xxx-xx-2235                )
                                       )
                Debtor                 )
______________________________________________________________________________
Marcus G. Lang,                        )
                                       ) Adversary Proceeding
                Plaintiff,             ) No.: 15-_________-JAC
                                       )
v.                                     )
                                       )
Prosper Marketplace, Inc.,             )
                                       )
                Defendant.             )

COMPLAINT SEEKING DECLARATORY JUDGMENT, A FINDING OF CONTEMPT
          AND DAMAGES IN CORE ADVERSARY PROCEEDING

       COMES NOW the Plaintiff, Marcus G. Lang, by and through counsel, in the above-

styled bankruptcy case, and prays this Honorable Court, through its powers, will issue a

declaratory judgment finding that the Defendant has willfully violated the provisions of Section

524 of the United States Bankruptcy Code, 11 U.S.C. § 101, et seq, find the Defendant to be in

contempt of this Court’s discharge injunction, award damages on behalf of the Plaintiff and

against the Defendant for such violations and contempt and for the other wrongful actions more

fully described below. In support of this complaint, the Plaintiff states as follows:

                                        INTRODUCTION

1.     This is an action for actual and punitive damages filed by the debtor pursuant to Sections

       105, 502 and 524 of the Bankruptcy Code. This complaint relates to the Defendant’s

       willful violation of the injunctive provisions of Section 524 of the United States




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     Bankruptcy Code.

                              JURISDICTION AND VENUE

2.   Jurisdiction is conferred on this Court pursuant to the provisions of Section 1334 of Title

     28 of the United States Code in that this proceeding arises in and is related to the above-

     captioned Chapter 13 case under Title 11. This Court has both personal and subject

     matter jurisdiction to hear this case pursuant to Section 1334 of Title 28 of the United

     States Code and Section 157(b)(2) of Title 28 of the United States Code.

3.   This matter is a core proceeding and therefore the Bankruptcy Court has jurisdiction to

     enter a final order. However, in the event this case is determined to be a non-core

     proceeding then and in that event the Plaintiff consents to the entry of a final order by the

     Bankruptcy Judge.

4.   Venue lies in this District pursuant to Section 1391(b) of Title 28 of the United States

     Code.

                                          PARTIES

5.   The Plaintiff Marcus G. Lang is a natural person and is a debtor under Chapter 13 of Title

     11 of the United States Code in case number 14-83412-JAC13. The Plaintiff is

     hereinafter referred to as the “Plaintiff” or “Mr. Lang.”

6.   The Defendant Prosper Marketplace, Inc. (hereinafter “Prosper Marketplace” or

     “Defendant”) is upon information and belief a corporation operating from an address of

     221 Main Street, Suite 300, San Francisco, CA 94105.

                               FACTUAL ALLEGATIONS

7.   Mr. Lang previously filed bankruptcy case number 08-80227-JAC13 (herein after

     referred to as the “2008 case”) in the Northern District of Alabama, Northern District on

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      January 20, 2008, for the purpose of receiving relief under Chapter 13 of the United

      States Bankruptcy Code. See Exhibit A.

8.    The Defendant was scheduled in Mr. Lang’s 2008 case as an unsecured creditor. See

      Exhibit B. Neither Mr. Lang nor his attorney have any knowledge of any letters sent by

      this Court to Defendant providing notice of Mr. Lang’s 2008 bankruptcy filing being

      returned for an insufficient or incorrect address of for any other reason.

9.    Defendant filed a proof of claim, Claim 15, in Mr. Lang’s 2008 case, claiming an amount

      of $15,255.75. See Exhibit C.

10.   The Trustee disbursed $2725.19 to the Defendant as a pro-rata payment on the total

      claimed amount in the 2008 case. See Exhibit D.

11.   This Honorable Court entered a discharge in Mr. Lang’s 2008 case on March 26, 2013,

      without objection. See Exhibit E.

12.   The above-styled bankruptcy case was filed in good faith in the Northern District of

      Alabama, Northern Division, on December 18, 2014, for the purpose of receiving relief

      under Chapter 13 of the United States Bankruptcy Code. See Exhibit F. Consequently, an

      order of relief was entered in the above-styled case on the same day, pursuant to 11

      U.S.C. § 301, thus triggering an automatic stay, pursuant to 11 U.S.C. § 362(a), of all

      debt collection efforts against Mr. Lang.

13.   Because Mr. Lang’s credit report was still showing a balance owed to the Defendant on

      the discharged debt, Defendant was scheduled as an unsecured creditor in the current

      case, with a statement that the debt was disputed and discharged in the 2008 case. See

      Exhibit G.

14.   The Defendant filed a proof of claim, Claim 4, in the amount of $31,671.33 in Mr.

                                                  3



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      Lang’s current case. See Exhibit H.

15.   The proof of claim, Claim 4, filed in Mr. Lang’s current case concerns the same debt that

      was discharged in the 2008 case.

16.   Mr. Lang has been harassed and damaged by the Defendant’s actions in that he has been

      and continues to be forced to expend his time and expenses toward the defense of these

      claims.

                             CLAIM FOR RELIEF
                   VIOLATION OF THE DISCHARGE INJUNCTION

17.   The allegations in paragraphs 1 through 16 of this complaint are realleged and

      incorporated herein by this reference.

18.   The Plaintiff is informed and believes and therefore alleges that the actions of the

      Defendant constitutes a gross and willful violation of the discharge injunction as set forth

      in 11 U.S.C. Section 524 and confirmed by this Court by the Order of Discharge entered

      in case 08-80227-JAC13.

19.   The Plaintiff is informed and believes and therefore alleges that the Defendant is seeking

      to recover money from him for which it has no legal right or claim and that such act or

      actions constitutes unlawful and illegal acts in violation of the discharge injunction.

20.   Defendant’s violation of the permanent injunction issued has caused the Plaintiff

      damages in the form of emotional distress, attorney fees and costs.

21.   As a result of the above violations of 11 U.S.C. Section 524, Plaintiff asks this Court to

      issue a Declaratory Judgment that the Defendant is in contempt of the discharge

      injunction entered by this Court.

22.   Also as a result of the above violations of 11 U.S.C. Section 524, the Defendant is liable


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       to the Plaintiff for actual damages, punitive damages and legal fees in an amount to be

       determined by this Court under Section 105 of Title 11 and the decision of the United

       States Supreme Court in Marrama v. Citizens Bank of Massachusetts, 127 S.Ct. 1105

       (2007).

       WHEREFORE, PREMISES CONSIDERED, the Plaintiff having set forth his claims

for relief against the Defendant, respectfully prays of the Court as follows:

           A.      That the Plaintiff have and recover against the Defendant a sum to be
                   determined by the Court in the form of actual damages;
           B.      That the Plaintiff have and recover against the Defendant a sum to be
                   determined by the Court in the form of punitive damages;
           C.      That the Plaintiff have and recover against the Defendant all reasonable legal
                   fees and expenses incurred by her attorney;
           D.      That the underlying debt be forever canceled and discharged;
           E.      That Proof of Claim #4 as filed in the instant case be disallowed in its entirety;
                   and
           F.      That the Plaintiff have such other and further relief as the Court may deem
                   just and proper.




Respectfully submitted this the 27th day of January, 2015.


                                               /s/Amy K. Tanner
                                              Amy K. Tanner, Esq.
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                           CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the above and foregoing pleading upon
Prosper Marketplace, Inc., 221 Main Street, Suite 300, San Francisco, CA 94105, Prosper
Marketplace, Inc., c/o National Corporate Research, LTD, Registered Agent, 615 S.
Dupont Hwy, Dover, DE 19901, Prosper Marketplace, Inc., c/o National Corporate
Research, LTD, Registered Agent, 101 Second Street, 15th Floor, San Francisco, CA 94105
and Michael F. Ford, Chapter 13 Trustee, by depositing a copy of the same in the United
States mail, properly addressed and adequate postage thereon this           27th    day of
January , 2014.

                                                        /s/ Amy K. Tanner
                                                       OF COUNSEL




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